     Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2040 Page 1 of 16


1     C.D. Michel – SBN 144258
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2     Matthew D. Cubeiro – SBN 291519
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3     180 E. Ocean Boulevard, Suite 200
4     Long Beach, CA 90802
      Telephone: (562) 216-4444
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      Email: cmichel@michellawyers.com
6
7     Attorneys for Plaintiffs

8
                                UNITED STATES DISTRICT COURT
9
                            SOUTHERN DISTRICT OF CALIFORNIA
10
11     KIM RHODE, et al.,                             Case No.: 3:18-cv-00802-BEN-JLB
                                  Plaintiffs,
12                                                    JOINT MOTION TO VACATE THE
                           v.                         MANDATORY SETTLEMENT
13                                                    CONFERENCE
       XAVIER BECERRA, in his official
14     capacity as Attorney General of the State
15     of California,
16                                Defendant.
17
18          Plaintiffs Kim Rhode, Gary Brennan, Cory Henry, Edward Johnson, Scott
19    Lindemuth, Richard Ricks, Denise Welvang, Able’s Sporting, Inc., a Texas corporation,
20    AMDEP Holdings, LLC, a Florida limited liability company d/b/a Ammunition Depot,
21    R&S Firearms, Inc., an Arizona corporation d/b/a Sam’s Shooters’ Emporium, and
22    California Rifle & Pistol Association, Incorporated, a California corporation
23    (“Plaintiffs”), and Defendant Xavier Becerra (“Defendant”) through their counsel, hereby
24    jointly request that the Court vacate the Mandatory Settlement Conference currently set
25    for February 21, 2020.
26          The parties have discussed the possibility of settlement and do not believe this case
27    has any potential of settling. Plaintiffs believe that the challenged provisions violate
28    various constitutional rights, and Defendant believes the law is constitutional.
                                     1
       JOINT MOTION TO VACATE THE MANDATORY SETTLEMENT CONFERENCE
                                                                                            18cv802
     Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2041 Page 2 of 16


1           Plaintiffs have no intention of dismissing this lawsuit unless Defendant ceases
2     enforcement of the challenged provisions.
3           It is Defendant’s position that the challenged provisions are constitutional and duly
4     enacted. Given the Attorney General’s sworn duty to uphold the laws of the State, the
5     Attorney General cannot excuse Plaintiffs from compliance with the challenged
6     provisions or otherwise refuse to enforce them. Cal. Const., art. III, § 3.5.
7           Additionally, the Parties have not completed discovery in this matter. The
8     discovery cut off was suspended by Judge Benitez at the Status Conference on October 1,
9     2019 (see Exhibit 1, 45:22-46:2, relevant pages of Transcript of Status Conference). The
10    parties are currently awaiting an order regarding setting a new scheduling order, see
11    Exhibit 2, Joint Status Report and Proposed Order requesting to vacate the current
12    Scheduling Order.
13          For these reasons, settlement of this matter is practically impossible. The parties
14    thus respectfully request to be relieved from the Mandatory Settlement Conference and
15    its related requirements and that the hearing in chambers currently scheduled for
16    February 21, 2020 be taken off calendar.
17          Should the Court not relieve the parties from the Mandatory Settlement
18    Conference, they respectfully request in the alternative that their counsel be allowed to
19    attend the Mandatory Settlement Conference telephonically, rather than in person, to
20    avoid the significant costs of appearing in person when the outcome is known.
21
22    Dated: January 15, 2020                        MICHEL & ASSOCIATES, P.C.
23
                                                     s/ Sean A. Brady
24                                                   Sean A. Brady
                                                     Email: sbrady@michellawyers.com
25                                                   Attorneys for Plaintiffs
26
      ///
27
28    ///

                                     2
       JOINT MOTION TO VACATE THE MANDATORY SETTLEMENT CONFERENCE
                                                                                           18cv802
     Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2042 Page 3 of 16


1     Dated: January 15, 2020                      XAVIER BECERRA
2                                                  Attorney General of California
                                                   TAMAR PACHTER
3                                                  Supervising Deputy Attorney General
4                                                  s/ Nelson R. Richards
                                                   NELSON R. RICHARDS
5                                                  Deputy Attorney General
                                                   Email: Nelson.Richards@doj.ca.gov
6                                                  Attorneys for Defendant
7
8           The below filer attests that concurrence in the filing of this document has been

9     obtained from the above signatories.
                                                   s/ Sean A. Brady
10                                                 Sean A. Brady
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       JOINT MOTION TO VACATE THE MANDATORY SETTLEMENT CONFERENCE
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Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2043 Page 4 of 16




                        EXHIBIT 1
Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2044 Page 5 of 16
                                                                                 1



      1                         UNITED STATES DISTRICT COURT

      2                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA

      3

      4   KIM RHODE, et al.,                       )
                                                   )
      5         Plaintiffs,                        )   No. 18-CV-00802-BEN-JLB
                                                   )
      6               v.                           )   October 1, 2019
                                                   )
      7   XAVIER BECERRA, et al.,                  )   1:05 p.m.
                                                   )
      8         Defendants.                        )   San Diego, California
          _________________________________        )
      9

     10                       TRANSCRIPT OF STATUS CONFERENCE
                           BEFORE THE HONORABLE ROGER T. BENITEZ
     11                        UNITED STATES DISTRICT JUDGE

     12   APPEARANCES (Telephonic):

     13   For the Plaintiffs:         MICHEL & ASSOCIATES, P.C.
                                      By: SEAN BRADY, ESQ.
     14                               180 East Ocean Boulevard
                                      Suite 200
     15                               Long Beach, California 90802

     16   For the Defendants:         CALIFORNIA ATTORNEY GENERAL'S OFFICE
                                      By: NELSON RICHARDS, ESQ.
     17                               2550 Mariposa Mall
                                      Room 5090
     18                               Fresno, California 93721

     19

     20   Court Reporter:             CYNTHIA R. OTT, RDR, CRR
                                      District Court Clerk's Office
     21                               333 West Broadway, Suite 420
                                      San Diego, California, 92101
     22                               cynthia_ott@casd.uscourts.gov

     23

     24

     25   Reported by Stenotype, Transcribed by Computer
Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2045 Page 6 of 16
                                                                                  45



      1   get another round of information that could necessitate, you

      2   know, deposing the same people a second time.

      3              You know, I think it would be easier, more streamlined

      4   for everybody, rather than, for example, you know, deposing

      5   Ms. Morales now, based on this declaration, and then, you know,

      6   having to recall her once we see the second round of

      7   information, because there could be discrepancies, right, that

      8   we want to ask about.

      9              So I think it makes sense to kick it out past that.

     10              THE COURT:   Well, I agree with you in a sense, except

     11   for, of course, this is sort of a rolling dataset.          And so I

     12   don't know that there would ever come a time when we would

     13   really have the final data that we would be working with.

     14              So I guess what I'm saying is there's going to come a

     15   point where, for example, with interrogatories, you're going to

     16   have to send the interrogatories out, and then we're going to

     17   have to expect that there will be supplemental responses to the

     18   original responses.     And then, of course, it may be possible

     19   that we do need to go a second round of depositions.          Not in

     20   all cases, but in some cases, there may be a second round of

     21   depositions that's necessary.

     22              But I hear you.    I understand what you're saying.         And

     23   you're right, the current discovery date may be unrealistic.

     24   So why don't I just cut that off, and let's -- let's think

     25   about this when we have our next status conference.          If maybe
Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2046 Page 7 of 16
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      1   the two of you can meet and confer and give me dates by when we

      2   can -- you know, for discovery cutoffs, experts and so on.

      3              I would like to have the evidentiary hearing on this

      4   when everybody is reasonably well prepared.         So I think it

      5   would be a good idea to have most of the discovery done before

      6   we do our hearing on the preliminary injunction.

      7              So, I'll suspend the discovery cutoff date for now.

      8   And then I want you to have a schedule for me, an agreed upon

      9   schedule for me next time we talk, which will be sometime

     10   probably in late November, okay?       Agreed?

     11              MR. BRADY:   Perfect, Your Honor.      Thank you very much.

     12              MR. RICHARDS:    This is Nelson Richards, Your Honor.

     13   Thank you.    We agree to that.

     14              THE COURT:   Thank you.    All right.    This hearing is

     15   concluded.

     16     (The proceedings concluded at 2:20 p.m., October 1, 2019.)

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Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2047 Page 8 of 16
                                                                                 47



      1                       COURT REPORTER'S CERTIFICATE

      2

      3        I, CYNTHIA R. OTT, Official Court Reporter, United States

      4   District Court, Southern District of California, do hereby

      5   certify that pursuant to 28 U.S.C. §753 the foregoing is a

      6   true, complete and correct transcript of the stenographically

      7   reported proceedings had in connection with the above-entitled

      8   matter and that the transcript page format is in conformance

      9   with the regulations of the Judicial Conference of the United

     10   States.

     11
               DATED at San Diego, California, October 22, 2019.
     12

     13

     14                                   _/s/ CYNTHIA R. OTT
                                     CYNTHIA R. OTT, RDR, CRR
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Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2048 Page 9 of 16




                        EXHIBIT 2
     Case
      Case3:18-cv-00802-BEN-JLB
           3:18-cv-00802-BEN-JLB Document
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                                                                                 1 of 4
                                                                                      16


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 2     Matthew D. Cubeiro – SBN 291519
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 5     Facsimile: (562) 216-4445
       Email: cmichel@michellawyers.com
 6
 7     Attorneys for Plaintiffs

 8
                                UNITED STATES DISTRICT COURT
 9
                            SOUTHERN DISTRICT OF CALIFORNIA
10
11     KIM RHODE, et al.,                          Case No.: 3:18-cv-00802-BEN-JLB
                                  Plaintiffs,
12                                                 JOINT STATUS REPORT
                           v.
13
       XAVIER BECERRA, in his official
14     capacity as Attorney General of the State
15     of California,
16                                Defendant.
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                                      JOINT STATUS REPORT
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     Case
      Case3:18-cv-00802-BEN-JLB
           3:18-cv-00802-BEN-JLB Document
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                                                                                 2 of 4
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 1                                          BACKGROUND
 2           On October 1, 2019, the parties participated in a telephonic status conference,
 3     during which the Court suspended the existing discovery cut-off dates and instructed
 4     counsel for the parties to meet and confer to develop agreed upon dates for new discovery
 5     deadlines to propose to the Court. Tr. of Proceedings at 45:22-46:1-2, 46:7-13, Oct. 1,
 6     2019. The Court indicated it would hold another status conference sometime in late
 7     November and also suggested that it might hold an evidentiary hearing before ruling on
 8     Plaintiffs’ Motion for Preliminary Injunction. Tr. of Proceedings at 43:15-17, 46:7-10,
 9     Oct. 1, 2019. The Court also invited Plaintiffs to file a supplemental brief, which they did
10     on October 29, 2019. (ECF No. 46).
11                           JOINT STATUS REPORT & REQUESTS
12           Counsel for the parties have met and conferred and, based thereon, jointly and
13     respectfully request the following from the Court:
14        1) That no evidentiary hearing take place prior to the Court ruling on Plaintiffs’
15           Motion for Preliminary Injunction, due not only to the significant costs and time
             required to hold one, and the potential redundancy of the merits stage, but also
16
             because the parties agree that the material facts are generally undisputed and that
17           counsel should be able to address most, if not all, of the Court’s questions about
18           the issues currently before the Court sufficient to decide the pending motion;
19
          2) That the Court grant Defendant an opportunity to respond to Plaintiffs’
20
             supplemental brief, either via a written brief not to exceed 10 pages to be filed
21           within 14 days of the Court’s response to this Joint Status Report, or at a hearing
22           with counsel for all parties present to take place on the first convenient date for the
             Court (but excluding November 22, 25 and December 2, 4, 5, 2019);
23
24        3) That the Court allow the parties to wait until after the Court rules on Plaintiffs’
25           Motion for Preliminary Injunction to meet and confer and finalize their stipulation
             concerning all new discovery deadlines at that time, because the parties believe
26
             that awaiting a ruling from the Court on the pending motion would likely add
27           clarity to the issues that would facilitate the parties agreeing upon a case schedule
28           going forward.

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                                       JOINT STATUS REPORT
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     Case
      Case3:18-cv-00802-BEN-JLB
           3:18-cv-00802-BEN-JLB Document
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                                                               PageID.2018 Page
                                                                            Page12
                                                                                 3 of 4
                                                                                      16


 1                                                     Respectfully submitted,
 2     Dated: November 7, 2019                         MICHEL & ASSOCIATES, P.C.
 3
                                                       s/ Sean A. Brady
 4                                                     Sean A. Brady
                                                       Email: sbrady@michellawyers.com
 5                                                     Attorneys for Plaintiffs
 6
 7     Dated: November 7, 2019                         XAVIER BECERRA
                                                       Attorney General of California
 8                                                     TAMAR PACHTER
                                                       Supervising Deputy Attorney General
 9
10                                                     s/ Nelson R. Richards
                                                       NELSON R. RICHARDS
11                                                     Email: nelson.richards@doj.ca.gov
                                                       Attorneys for Defendant
12
13
14                                Attestation of Concurrence in Filing
15           I, Sean A. Brady, am the ECF user whose ID and password are being
16     used to file the foregoing Joint Status Report. I hereby attest that all signatories listed
17     above, and on whose behalf this filing is submitted, concur in the filings content and have
18     authorized the filing.
19
20     Dated: November 7, 2019                         s/ Sean A. Brady
                                                       Sean A. Brady
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                                        JOINT STATUS REPORT
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                                                                                 4 of 4
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 1                               CERTIFICATE OF SERVICE
                               UNITED STATES DISTRICT COURT
 2                           SOUTHERN DISTRICT OF CALIFORNIA
 3     Case Name: Rhode, et al. v. Becerra
 4     Case No.: 3:18-cv-00802-JM-JMA

 5     IT IS HEREBY CERTIFIED THAT:
 6            I, the undersigned, declare under penalty of perjury that I am a citizen of the
 7     United States over 18 years of age. My business address is 180 East Ocean Boulevard,
       Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
 8
             I have caused service of the following documents, described as:
 9
                                     JOINT STATUS REPORT
10
11     on the following parties by electronically filing the foregoing on November 7, 2019, with
       the Clerk of the District Court using its ECF System, which electronically notifies them.
12
        Nelson R. Richards
13      Deputy Attorney General
        nelson.richards@doj.ca.gov
14      2550 Mariposa Mall, Room 5090
15      Fresno, CA 93721
           Attorneys for Defendant Attorney
16         General Xavier Becerra
17
18          I declare under penalty of perjury that the foregoing is true and correct. Executed
       on November 7, 2019, at Long Beach, CA.
19
20                                                        s/ Laura Palmerin
                                                          Laura Palmerin
21
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                                    CERTIFICATE OF SERVICE
                                                                                          18cv802
     Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2053 Page 14 of 16


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                               UNITED STATES DISTRICT COURT
9
                           SOUTHERN DISTRICT OF CALIFORNIA
10
11     KIM RHODE, et al.,                          Case No.: 3:18-cv-00802-BEN-JLB
                                 Plaintiffs,
12                                                 ORDER REGARDING JOINT STATUS
                          v.                       REPORT
13
       XAVIER BECERRA, in his official
14     capacity as Attorney General of the State
15     of California,
16                               Defendant.
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                                               ORDER
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     Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2054 Page 15 of 16


1            The Court, having reviewed the parties’ joint status report filed on November 7,
2      2019 (docket number 47) and good cause appearing, hereby ORDERS as follows:
3            1) That counsel for all parties appear for a hearing regarding the supplemental
4      filings relating to Plaintiffs’ Motion for Preliminary Injunction, to take place:
5      ___________________________________________________________________;
6            2) All discovery and pretrial deadlines set forth in the Amended Scheduling Order
7      (docket number 27) are vacated. The parties must meet and confer and file a stipulation
8      requesting a new scheduling order with proposed deadlines no later than thirty (30) days
9      from the date of a ruling on Plaintiffs’ Motion for Preliminary Injunction.
10
11     IT IS SO ORDERED.
12
13     Dated: _________________                             ______________________________
                                                            Hon. Roger T. Benitez
14
                                                            United States District Judge
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                                                   2
                                                 ORDER
                                                                                           18cv802
     Case 3:18-cv-00802-BEN-JLB Document 50 Filed 01/15/20 PageID.2055 Page 16 of 16


1                                 CERTIFICATE OF SERVICE
                                UNITED STATES DISTRICT COURT
2                             SOUTHERN DISTRICT OF CALIFORNIA
3      Case Name: Rhode, et al. v. Becerra
4      Case No.: 3:18-cv-00802-JM-JMA

5      IT IS HEREBY CERTIFIED THAT:
6             I, the undersigned, declare under penalty of perjury that I am a citizen of the
7      United States over 18 years of age. My business address is 180 East Ocean Boulevard,
       Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
8
             I have caused service of the following documents, described as:
9
                            JOINT MOTION TO VACATE THE
10                       MANDATORY SETTLEMENT CONFERENCE
11
       on the following parties by electronically filing the foregoing on January 15, 2020, with
12     the Clerk of the District Court using its ECF System, which electronically notifies them.
13     Nelson R. Richards
       Deputy Attorney General
14     nelson.richards@doj.ca.gov
15     2550 Mariposa Mall, Room 5090
       Fresno, CA 93721
16        Attorneys for Defendant Attorney
          General Xavier Becerra
17
18
             I declare under penalty of perjury that the foregoing is true and correct. Executed
19     on January 15, 2020, at Long Beach, CA.
20
                                                           s/ Laura Palmerin
21                                                         Laura Palmerin
22
23
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                                     CERTIFICATE OF SERVICE
                                                                                           18cv802
